      Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 1 of 16



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

RICHARD LOWERY,                            §
                                           §
      Plaintiff,                           §
                                           §
v.                                         §          CASE NO. 1:23-cv-00129-DAE
                                           §
LILLIAN MILLS, et al.,                     §
                                           §
      Defendants,                          §


                   DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT
              Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 2 of 16



                                                                   Table of Contents

Table of Authorities.......................................................................................................................................... iii
    Introduction .................................................................................................................................................. 1
    Standard ......................................................................................................................................................... 2
    Argument ....................................................................................................................................................... 2
         I.      Lowery’s “chilled speech” claim is a retaliation claim, which is foreclosed under
                   Fifth Circuit precedent for lack of an adverse employment action. .................................. 2
         II. Lowery has not alleged sufficient facts to support his claim that Defendants
               maintain an unwritten speech code. ....................................................................................... 6
                 A. Lowery has not has not alleged sufficient facts to support his claim
                    that an unwritten policy exists. ........................................................................... 8
                 B. Lowery has not alleged sufficient facts to infer that Defendants
                    enforced an unwritten speech policy against him. ............................................... 10
    Conclusion ...................................................................................................................................................11




                                                                                  ii
          Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 3 of 16



                                              Table of Authorities

                                                                                                              Page(s)

Cases

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................. 2

Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) .................................................................................................. 2

Breaux v. City of Garland,
   205 F.3d 150 (5th Cir. 2000) ...................................................................... 3, 5, 6, 10

Buchanan v. Alexander,
  919 F.3d 847 (5th Cir. 2019) .................................................................................... 9

Colson v. Grohman,
   174 F.3d 498 (5th Cir. 1999) ................................................................................ 3, 6

Dorsett v. Board of Tr.,
   940 F.2d 121 (5th Cir. 1991) ............................................................................ 3, 5, 9

Harrington v. Harris,
  118 F.3d 359 (5th Cir. 1997) ................................................................................ 5, 6

Hawkland v. Hall,
  860 F. App’x 326 (5th Cir. 2021) .............................................................................. 2

Jackson v. Wright,
   No. 4:21-CV-00033, 2022 WL 179277 (E.D. Tex. Jan. 18, 2022) ............................ 9

Keenan v. Tejeda,
   290 F.3d 252 (5th Cir. 2002) ............................................................................ 3, 4, 5

Kriss v. Fayette Cnty.,
   504 Fed. App’x 182 (3d Cir. 2012) ............................................................................ 8

McCauley v. City of Chicago,
  671 F.3d 611 (7th Cir. 2011) .................................................................................... 8

Pickering v. Board of Educ.,
   391 U.S. 563 (1968) .................................................................................................. 5

Pierce v. Tex. Dep't of Criminal Justice, Institutional Div.,
   37 F.3d 1146 (5th Cir. 1994) .................................................................................... 6

                                                            iii
          Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 4 of 16




Powell v. Ryan,
  855 F.3d 899 (8th Cir. 2017) .................................................................................... 9

Villarreal v. City of Laredo,
   94 F.4th 374 (5th Cir. 2024) ..................................................................................... 4

Wilson v. Tregre,
   787 F.3d 322 (5th Cir. 2015) .................................................................................... 3




                                                          iv
            Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 5 of 16




                                           I NTRODUCTION

        Plaintiff Richard Lowery is a tenured professor who is allegedly chilling his expression by

setting his Twitter account to private and only speaking at closed events. According to Lowery, this

chill emanates from two sources. First, he complains that university officials asked his friend and ally,

Professor Carlos Carvalho, to counsel Lowery to tone down his speech and to stop telling donors not

to give money to universities. Although Lowery does not allege that Carvalho complied with those

requests or that any Defendant actually threatened or even “counseled” him over his public speech,

Lowery alleges that hearing his speech described as “uncivil” and “disruptive” cowed him into silence.

See Dkt. 126 (Am. Comp.) ¶126. Second, Lowery alleges Defendants maintain an unwritten speech

code against “uncivil” and “rude” speech that has been enforced only against him. See id. ¶119. The

supposed enforcement of that unwritten code is the same allegedly-desired-but-unimplemented

“counsel[ing]” that Lowery relies upon for his chilled-speech claim and the alleged retaliation he de-

scribed in his previously dismissed retaliation claim. Neither claim satisfies the pleading standard.

        First, Lowery’s “chilled speech” claim is simply a rebadged First Amendment retaliation claim,

and as such it is fatally flawed because Lowery does not allege that Defendants have done anything to

him that qualifies as an adverse employment action. Although this Court previously found that Low-

ery’s alleged self-chilling is an injury sufficient to satisfy Article III standing, Dkt. 51 (MtD Order) at

16, a public employee claiming that his employer punished or threatened him for his protected speech
must allege an actionable adverse employment action—and the Court correctly dismissed Lowery’s

retaliation claim because none of the harms or threats alleged by Lowery qualifies as an adverse em-

ployment action, id. at 24. Lowery’s “chilled speech” claim should be dismissed as to all Defendants,

or at a minimum as to new Defendant President Hartzell.1




        1
          President Hartzell, as a newly added Defendant, has not yet had the opportunity to seek
dismissal of count one. And given that Lowery has revised the allegations in count one in the amended
complaint, the original Defendants should also be allowed to seek dismissal of count one in the
amended complaint. Moreover, because significant fact discovery related to count one has already
been conducted, Defendants will also move for summary judgment on that ground.

                                                    1
             Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 6 of 16




          Lowery’s claim that “UT maintains an unwritten speech code or practice,” Dkt. 126 (Am.

  Compl.) ¶119, is a legal conclusion that is insufficient under Iqbal/Twombly. The alleged events he

  invokes to support the claim are the same alleged events that he relied upon for his dismissed retalia-

  tion claim and his defective self-chill retaliation claim. Lowery cannot rehabilitate his failed retaliation

  claim by recasting it as a challenge to an unwritten speech code that purportedly applies to Lowery

  alone. This new claim should be dismissed as to all Defendants.

                                                  S TANDARD

          Defendants move to dismiss for failure to state a claim under Rule 12(b)(6). This analysis

  hinges upon whether the plaintiff pled a “plausible” (as opposed to merely a “possible”) claim for

  relief; the Court asks whether the plaintiff asserted “factual content that allows the court to draw the

  reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009). And if “a complaint pleads facts that are ‘merely consistent with’ a defendant’s liabil-

  ity, it ‘stops short of the line between possibility and plausibility of entitlement to relief,’” and dismissal

  is appropriate. Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)).

                                                 A RGUMENT

          Both of Lowery’s claims should be dismissed. His self-chill claim is a rebranded retaliation

  claim—and the Court previously held that Lowery’s failure to plead a cognizable adverse action pre-

  cluded his retaliation claim. And Lowery fails to allege facts supporting the existence of an unwritten
  speech code or practice; he merely states a legal conclusion, which is insufficient under Iqbal and

  Twombly.

I.    Lowery’s “chilled speech” claim is a retaliation claim, which is foreclosed under Fifth
      Circuit precedent for lack of an adverse employment action.
          The Fifth Circuit has long required public university professors and other plaintiffs claiming

  that their governmental employer punished them (or threatened to punish them) for their expressive

  activities to show that the defendant took an adverse employment action against them. See, e.g., Hawk-

  land v. Hall, 860 F. App’x 326, 329-30 (5th Cir. 2021) (“To succeed in a First Amendment retaliation
  claim,” a “public employee must show (1) he suffered an adverse employment action; (2) he spoke as a

                                                        2
         Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 7 of 16




citizen on a matter of public concern; (3) his interest in the speech outweighs the government’s interest

in the efficient provision of public services; and (4) the speech precipitated the adverse employment

action.” (emphasis added) quoting Wilson v. Tregre, 787 F.3d 322, 325 (5th Cir. 2015) (internal quo-

tation marks and citation omitted). By contrast, “to establish a First Amendment retaliation claim
against an ordinary citizen, [plaintiffs] must show that “(1) they were engaged in constitutionally protected

activity, (2) the defendants’ actions caused them to suffer an injury that would chill a person of ordi-

nary firmness from continuing to engage in that activity, and (3) the defendants’ adverse actions were

substantially motivated against the plaintiffs’ exercise of constitutionally protected conduct.” Keenan v.

Tejeda, 290 F.3d 252, 258 n.4 (5th Cir. 2002) (emphasis added). Thus, the elements of a First Amend-

ment retaliation claim differ depending on whether the plaintiff is an employee of the governmental

defendant. One key difference is that public-employee retaliation plaintiffs must show that they suf-

fered an adverse employment action at the hands of the defendant, whereas retaliation plaintiffs who

are not employees of the governmental defendant do not.

         “In the employment context, [the] requirement of an adverse employment action serves the

purpose of weeding out minor instances of retaliation.” Keenan v. Tejeda, 290 F.3d 252, 258 n.4 (5th

Cir. 2002) (citing Colson v. Grohman, 174 F.3d 498, 510, 514 (5th Cir. 1999)). The Fifth Circuit has

recognized that “some retaliatory actions—even if they actually have the effect of chilling the plain-

tiff’s speech—are too trivial or minor to be actionable as a violation of the First Amendment.” Keenan,
290 F.3d at 258. The Fifth Circuit has further explained that, “[i]n public schools and universities

across this nation, interfaculty disputes arise daily over teaching assignments, room assignments, ad-

ministrative duties, classroom equipment, teacher recognition, and a host of other relatively trivial

matters.” Dorsett v. Board of Trustees, 940 F.2d 121, 123 (5th Cir. 1991). And the Fifth Circuit has con-

cluded that it has “neither the competency nor the resources to micromanage the administration of

thousands of state educational institutions.” Id. at 124.

        This Court recognized that Lowery hasn’t pleaded a viable retaliation claim because Defend-

ants haven’t allegedly threatened or done anything to him that qualifies as an adverse employment
action. Dkt. 51 (MtD Order) at 24 (citing Breaux v. City of Garland, 205 F.3d 150, 157 (5th Cir. 2000)).

                                                     3
         Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 8 of 16




In an effort to avoid this defect, Lowery purports to bring a separate cause of action alleging that he

chilled his own speech because Defendants were threatening to punish him in retribution for publicly

criticizing them. But that is precisely what a First Amendment retaliation claim alleges, and Defendants

are not aware of any Fifth Circuit precedent allowing a government-employee plaintiff to circumvent

the adverse-employment-action requirement by bringing a “chilled speech” claim instead of (or in

addition to) a First Amendment retaliation claim. Lowery’s alleged chilling of his own speech in re-

sponse to Defendants’ purportedly punitive actions is not a distinct cause of action separate from his

retaliation claim, but merely a type of injury-in-fact that provided standing for his retaliation claim. In

short, Lowery’s “self-chill” claim is simply a retaliation claim that disavows that label in an effort to

avoid the adverse-employment-action element.

        The Court’s order on Defendants’ Motion to Dismiss Plaintiff’s original complaint implicitly

recognized that Lowery’s “chilled-speech” claim is, in essence, a retaliation claim. That order recited

the elements listed in Keenan, a First Amendment retaliation case, as the elements required “[t]o estab-

lish a chilled speech claim.” Dkt. 51 (MtD Order) at 25 (citing Keenan, 290 F.3d at 258); see also Keenan,

290 F.3d at 258. As noted above, the elements for a First Amendment retaliation claim brought by a

governmental employee include an adverse employment action, whereas those brought by a retaliation

plaintiff who is not an employee of the governmental defendant do not.

        Not requiring a First Amendment retaliation plaintiff to show an adverse employment action
makes perfect sense when the plaintiff is not an employee of the defendant—as was the case for

Keenan, who had resigned from his deputy-constable job prior to making the reports that the defend-

ant allegedly retaliated against him for making. 290 F.3d at 256; see also id. at 258 (“Unlike most of this

circuit’s First Amendment retaliation cases, this case does not involve an employment or other con-

tractual relationship between the plaintiffs and the governmental officials.”); see also Villarreal v. City of

Laredo, 94 F.4th 374, 397 (5th Cir. 2024) (applying same elements in First Amendment retaliation suit

by “citizen-journalist” against defendant city, which was not her employer). But it makes no sense to

omit the adverse-employment-action requirement when the plaintiff is an employee of the govern-
mental defendant he claims is retaliating against him for his speech. Otherwise, every public-employee

                                                      4
            Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 9 of 16




retaliation plaintiff whose alleged injury is something less than an adverse employment action could

simply recast his retaliation claim as a “chilled-speech” claim. That result would allow plaintiffs to clog

the federal courts with the very “minor instances of retaliation” that the adverse-employment-action

element is intended to “weed[] out.” Keenan, 290 F.3d at 258 n.4.

        Under Fifth Circuit precedents, Lowery has not plausibly alleged that he has suffered or has

been threatened to suffer an actionable instance of retaliation.2 Lowery allegedly fears that “Defend-

ants will not renew his appointment to the Salem Center, costing him the $20,000 annual stipend that

comes with that position,” Dkt. 126 (Am. Compl.) ¶ 87; “Defendants will remove his supervisory role

at the Policy Research Lab, and the opportunities to publish academic research that the Policy Re-

search Lab generates for Lowery,” id. ¶ 88. But those are the same alleged threats that Lowery unsuc-

cessfully invoked to support his dismissed retaliation claim, and which the Court found “insufficient

to establish an adverse employment action for a First Amendment retaliation claim in the Fifth Cir-

cuit.” See, e.g., Dkt. 51 (MtD Order) at 24. As the Court recognized, Fifth Circuit precedent holds that

threats are not adverse employment actions. Id. (citing Breaux, 205 F.3d at 160); see Breaux, 205 F.3d at

160 (“[R]etaliatory threats are just hot air unless the public employer is willing to endure a lawsuit over

termination.”).3




        2
          Lowery’s counsel dreams this case is squarely governed by Pickering v. Board of Education, 391
U.S. 563 (1968). See, e.g., Dkt. 114 (Feb. 12, 2023 Hearing Tr.) at 35:11–17. There and here plaintiffs
were educators employed by a government entity. But Pickering was fired from his teaching job. 391
U.S. at 564. By contrast, Lowery has not been terminated, nor does he even allege that he has been
threatened with being fired from his tenured teaching position. See generally Dkt. 126 (Am. Compl.).
        3 Even if Lowery had alleged Defendants carried out the purported threats discussed above,

those actions likely would not be actionable under Fifth Circuit precedent. Lowery’s appointments to
the Salem Center and Policy Research Lab are like the teaching assignments and summer employment
denied in Dorsett, where the Fifth Circuit “recognize[d] that such decisions might seem extremely sig-
nificant to Dorsett, who has devoted his life to teaching,” but “nevertheless . . . d[id] not rise to the
level of a constitutional deprivation.” 940 F.2d at 123. Similarly, the stipend that accompanies the
Salem Center position is like the “‘pay increases’ [that] do[] not rise to the level of a constitutional
deprivation.” Harrington, 118 F.3d at 366 (quoting Dorsett, 940 F.2 at 124). But Lowery does not allege
that Defendants have taken any of those actions against him.

                                                    5
          Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 10 of 16




          That leaves “attempting to label Lowery as lacking civility, being dangerous, violent, or in need

  of police surveillance.” Dkt. 126 (Am. Compl.) ¶90. In short, Lowery fears that Defendants will criti-

  cize him. But “mere accusations or criticism,” including “oral threats or abusive remarks,” do not

  qualify as adverse employment actions. Breaux, 205 F.3d at 157–58 (citing Harrington, 118 F.3d at 366).

  Even if Lowery claimed to fear an actual police investigation—instead of merely imagining that De-

  fendants will label him as “in need of police surveillance,” Dkt. 126 (Am. Comp.) ¶90—that would

  still not qualify as an adverse action. See Breaux, 205 F.3d at 158 (holding that police investigation was

  not an adverse employment actions); Pierce, 37 F.3d at 1150 (holding that investigations of corrections

  officer, which did not “result[] in any action being taken” against her, were not actionable for First

  Amendment retaliation purposes); Colson, 174 F.3d at 511 (holding that city councilmember’s claim

  that she was subject to criminal investigation in retaliation for her expressive activities was not action-

  able when plaintiff “was never arrested, indicted, or subjected to a recall election,” or even “formally

  reprimanded”).

          This Court correctly dismissed Lowery’s original retaliation claim because “he has not suffi-

  ciently alleged an adverse employment action.” Dkt. 51 (MtD Order) at 24. Because Lowery’s chilled-

  speech claim suffers from the same fundamental flaw, the Court should dismiss that claim for the

  same reason.4

II.   Lowery has not alleged sufficient facts to support his claim that Defendants maintain an
      unwritten speech code.
          Lowery’s second claim includes the following allegations:
                  “UT maintains an unwritten speech code or practice that allows for administrators to
                   counsel or discipline faculty for ‘uncivil’ or ‘rude’ speech,” Dkt. 126 at ¶119;
                  “UT’s unwritten speech code or practice forbids faculty members, such as Richard
                   Lowery, from advocating that donors stop donating to UT or that elected officials
                   defund UT as a way of advocating for policy changes at UT,” id. ¶120;



          4
            Fact discovery on this claim has been ongoing for many months, and the evidence defeats
  this claim as a matter of law. Accordingly, Defendants will also be filing a motion for summary judg-
  ment on this claim that the Court should consider along with this motion. Granting either or both
  motions as to count one would resolve the self-chill claim.

                                                      6
        Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 11 of 16




               “UT’s unwritten speech code or practice does not sufficiently cabin official discretion
                and thereby invites selective enforcement against disfavored viewpoints or speakers,”
                id. ¶121;
               “faculty expressing leftwing views are not asked to tone-down their tweets or make
                them more civil or less rude,” id. ¶122;
               “Defendants’ selective enforcement of UT’s unwritten speech code or practice also
                invites other faculty or staff to make ill-conceived or bad-faith complaints about
                ‘safety,’ ‘offensiveness,’ or ‘standards of ethics or respect for faculty’ about speech that
                dissents from majority viewpoints on the UT campus,” id. ¶123;
               Defendants, individually, and in concert with each other acted to enforce UT’s unwrit-
                ten speech code or practice against Lowery for his protected speech because it was
                embarrassing to them and others in the UT administration and also because they
                feared the possibility of elected officials or the public scrutinizing their behavior,” id.
                ¶124;
               “Defendants also selectively enforced UT’s unwritten speech code or practice against
                Lowery because they disagreed with his opinions, and found his commentary offensive
                and thought that it offended other, more favored faculty at UT,” id. ¶125;
               Defendants retaliated against Lowery for his protected speech by seeking to have him
                ‘counseled’ over his speech, labeling his speech as ‘uncivil’ and ‘disruptive,” threaten-
                ing to reduce Lowery’s pay, involuntarily end his affiliation with the Salem Center,
                reduce his access to research opportunities, inquire about his tweets, labeling him, re-
                questing that his speech be placed under police surveillance, or otherwise disciplining
                him,” id. ¶126.
               Defendants’ actions and threats were such that a reasonable person in Lowery’s posi-
                tion would refrain from speaking in the ways at issue in this case,” id. ¶127;
               “By applying their unwritten speech code against Richard Lowery for his protected
                speech, Defendants . . . violated and continue to violate Richard Lowery’s free speech
                rights under the First and Fourteenth Amendments,” id. ¶128.
        Lowery’s unwritten speech code claim fails to satisfy Iqbal/Twombly, in at least two related
respects. First, Lowery has not pleaded sufficient facts that, if true, would establish the existence of a

policy or practice. His allegation that UT Austin maintains an “unwritten speech code” that has been

applied solely against him is simply another recasting of his First Amendment retaliation claim, which

failed for lack of an adverse employment action. Second, Lowery alleges that “UT” maintains an un-

written speech code, but the University is not a defendant, and Lowery does not plead any facts from

which it could be inferred that Defendants Hartzell, Mills, Burris, or Sialm created this purported
speech policy or actually enforced it against Lowery.



                                                    7
        Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 12 of 16



        A.      Lowery has not has not alleged sufficient facts to support his claim that an un-
                written policy exists.
        The existence of an unwritten policy is a legal conclusion that needs factual support. See, e.g.,

McCauley v. City of Chicago, 671 F.3d 611, 617–18 (7th Cir. 2011); see also Kriss v. Fayette Cnty., 504 Fed.

App’x 182, 187 (3d Cir. 2012). Here Lowery does not allege any instances or facts to support his claim

that an unwritten policy exists, except for that Defendants and others criticized his speech. Lowery

does not allege that he has ever been disciplined for his speech or that any Defendant has accused him

of violating a UT or McCombs speech policy, written or unwritten. And his allegation that UT Austin

does not enforce its purported unwritten policy against “other faculty members,” Dkt. 126 at ¶122,

merely highlights that what Lowery describes as enforcement of a “policy or practice” against “rude

or uncivil speech” is merely instances of Defendants and others discussing Lowery’s speech with per-

sons other than Lowery in contexts that did not result in any discipline for Lowery.

        For example, Lowery alleges that Associate Dean Burris discussed “the importance of civility”

with Carlos Carvalho in an August 2022 meeting after Lowery had issued several public tweets criti-

cizing the GSLI program and its leadership, including one that referred to his GSLI McCombs col-

leagues as “shameless and awful.” Dkt. 126 at ¶¶40, 61. But Lowery does not allege that Burris disci-

plined him, asked Carvalho to discipline Lowery, or that Burris accused Lowery of violating any UT

or McCombs policy. Similarly, Lowery alleges that non-Defendant Sheridan Titman told another non-

Defendant (Laura Starks): “I don’t think rude comments are acceptable.” Id. at ¶72. But Lowery does
not allege that Titman disciplined Lowery, asked Starks to do anything to Lowery, or accused Lowery

of violating any UT or McCombs policy. Thus, even taking those allegations as true, Burris and Tit-

man’s statements that were not made to Lowery expressing their preference for civility or avoiding rudeness

in the workplace are insufficient to establish that Defendants maintain an unwritten speech code or

practice that exposed Lowery to discipline for ‘uncivil’ or ‘rude speech.’” Id. at ¶119.

        An unwritten policy exists only to the extent that it is enforced or otherwise made known, and

an unwritten policy that is allegedly enforced only against a single person is hardly a policy. Rather, it




                                                     8
        Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 13 of 16




is simply a reflection of one person’s individual experiences. For a governmental employee like Low-

ery, whether statements allegedly made or actions allegedly done to him in response to his speech

violate his First Amendment rights depend on, among other things, whether the employee has suffered

an adverse employment action; otherwise, federal courts will be flooded with complaints about “rela-

tively trivial matters” and wind up “micromanag[ing] the administration of thousands of state educa-

tional institutions.” Dorsett, 940 F.2d at 124. Lowery should not be permitted to skirt the government-

employee retaliation standard simply by stating the unsupported legal conclusion that an “unwritten

speech code exists.” To do so would permit a plaintiff to transform an unsuccessful retaliation claim

into a claim that the defendant maintains an “unwritten speech code,” applicable only to him, with a

simple sentence.

        While moving for leave to amend, Lowery claimed that “unconstitutional policies need not be

written. Implicit policies can be enough,” citing Jackson v. Wright, No. 4:21-CV-00033, 2022 WL

179277, at *7 (E.D. Tex. Jan. 18, 2022). Dkt. 94 (Motion for Leave to Amend) at 9; see also Dkt. 115

(Reply ISO Leave to Amend) at 7. To be clear, Defendants are not arguing that a policy cannot exist

unless it is reduced to writing. But there must be an actual policy. Lowery must plead facts that, if true,

would support the existence of an established speech code. He conspicuously has not done so. If

Lowery is to receive the benefit of skirting well-established Fifth Circuit precedent for the retaliation

standard, there must be some factual support for the existence of the policy.
        Defendants themselves have not invoked a policy; that makes this case in contrast, for exam-

ple, to Buchanan v. Alexander, 919 F.3d 847, 851–52 (5th Cir. 2019), when LSU invoked the University’s

sexual harassment policies to terminate a professor. There it at least made sense to evaluate the policy.

Or, as another example, Powell v. Ryan, officials removed a religious evangelist from the Iowa State

Fair. 855 F.3d 899, 901 (8th Cir. 2017). After Powell claimed this removal violated his free speech

rights, “officials responded they acted based on two unwritten Fair rules.” Id. 901–02. There, plaintiff’s

challenge to an unwritten policy made sense because Defendants invoked it as the basis for their

action. Here, Defendants have not claimed their alleged actions were the enforcement of policy. Low-
ery is recasting his allegations about events that allegedly happened to him (or that he feared will

                                                    9
        Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 14 of 16




happen to him) in an attempt to evade the retaliation standard that he knows defeats his claims. But

Lowery’s imagination cannot replace the requirement that Lowery allege facts that would support a

speech-code claim.

        In sum, Lowery alleges that Defendants and others griped about his speech but does not allege

that they disciplined him or concluded that his speech violated any UT or McCombs policy. That is

not enough to infer that Defendants maintain an unwritten speech policy that they enforce uniquely

against him.
        B.      Lowery has not alleged sufficient facts to infer that Defendants enforced an
                unwritten speech policy against him.
        Even if Lowery has alleged that an unwritten speech policy exists, he has not alleged facts

sufficient to plausibly imply that Defendants created it or have enforced it against him. To begin with,

Lowery alleges that it is “UT,” not any Defendant, that “maintains an unwritten speech code or prac-

tice that allows for administrators to counsel or discipline faculty for ‘uncivil’ or ‘rude’ speech.” Dkt.

126 ¶119. But UT Austin is not a defendant here. Indeed, paragraphs 117-122 of Lowery’s amended

complaint regarding his speech-code claim do not allege any specific action by any Defendant. Id.

¶117-22. Instead, those paragraphs make only vague references to “UT,” “UT administrators,” and

“other faculty members.” Id.

        Lowery alleges that “Defendants, individually and in concern with each other acted to enforce

UT’s written speech code or practice against Lowery,” ¶124, but he does not say how Defendants
purported enforced the unwritten policy. Notably, Lowery does not allege that any Defendant has

disciplined or even counseled him over his speech. Lowery alleges that Defendants Mills and Burris

asked Carlos Carvalho if he would counsel Lowery, but he also states that Carvalho refused to do so.

¶59. Similarly, Lowery alleges that Sheridan Titman told Carvalho, “We need to do something about

Richard,” ¶54, but he does not allege that Titman—who is no longer a defendant—counseled Lowery,

disciplined him, or took any adverse action against Lowery whatsoever. In any event, even if Lowery

had alleged that a Defendant counseled him about his speech, that would not be actionable in a public
employee’s First Amendment retaliation claim. See Breaux, 205 F.3d at 157-58 (holding that “mere


                                                   10
       Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 15 of 16




accusations or criticism,” including “oral threats or abusive remarks,” do not qualify as adverse em-

ployment actions). Lowery should not be permitted to bypass that limitation by making the conclusory

allegation that Defendants “enforced” a policy against him when he has not alleged that any Defendant

disciplined him or took any adverse employment action against him.

                                          C ONCLUSION

       This Court should dismiss the amended complaint in its entirety.

                                                      Respectfully submitted,

                                                      JACKSON WALKER L.L.P.

                                               By: /s/ Matt Dow
                                                   Charles L. Babcock
                                                   Texas State Bar No. 01479500
                                                   cbabcock@jw.com
                                                   Joel R. Glover
                                                   Texas State Bar No. 24087593
                                                   jglover@jw.com
                                                   Javier Gonzalez
                                                   Texas State Bar No. 24119697
                                                   jgonzalez@jw.com
                                                   1401 McKinney Street, Suite 1900
                                                   Houston, Texas 77010
                                                   (713) 752-4200 – Phone
                                                   (713) 752-4221 – Fax

                                                      Matt Dow
                                                      Texas State Bar No. 06066500
                                                      mdow@jw.com
                                                      Adam W. Aston
                                                      Texas State Bar No. 24045423
                                                      aaston@jw.com
                                                      Cody Lee Vaughn
                                                      Texas State Bar No. 24115897
                                                      100 Congress Ave., Suite 1100
                                                      Austin, Texas 78701
                                                      (512) 236-2056 – Phone
                                                      (512) 691-4456 – Fax

                                                      ATTORNEYS FOR DEFENDANTS




                                                 11
        Case 1:23-cv-00129-DAE Document 129 Filed 04/11/24 Page 16 of 16



                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 11, 2024, I caused a copy of the foregoing pleading to be
served upon counsel of record for all parties via the Court’s ECF system.

                                                /s/ Matt Dow
                                                Matt Dow




                                                  12
